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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              No. 9:17-cv-81237-Rosenberg/Reinhart

     ADT LLC and ADT US HOLDINGS, INC.,

            Plaintiffs,

                    v.

     ALDER HOLDINGS, LLC, et al.,

           Defendants.
     _______________________________________/

                 RENEWED APPLICATION FOR WRIT OF EXECUTION

            Pursuant to Rule 69 of the Federal Rules of Civil Procedure, Plaintiff ADT LLC

     applies again for a writ of execution in the form already offered at DE 451-1 directed to

     BANK OF AMERICA, N.A., to enforce this Court’s judgment in this cause against

     judgment debtor Alder Holdings, LLC, and in support states:

            1.      The Court (Rosenberg, J.) entered judgment in this cause on June 5, 2019,

     in the amount of Four Million Dollars, against defendant Alder Holdings LLC. [DE 402.]

            2.      The parties filed cross-motions for relief from the judgment. [DE 417; DE

     417; DE 420.] The Court denied these motions on September 11, 2019. [DE 445.]

            3.      Judgment debtor Alder Holdings did not post a supersedeas bond. Nor has

     the Court otherwise stayed the enforcement of the judgment as provided by Rule 62.

            4.      The automatic stay operates only for thirty days from the date of the

     judgment. See Fed. R. Civ. P. 62(a).

            5.      ADT applied for a writ of execution on October 9, 2019. [DE 451.] The

     Clerk entered a “Notice of Nonissuance” on October 10. [DE 452.]
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            6.     According to the Notice, the Clerk declined to issue the writ because it

     was “filed within 30 days from Notice Of Appeal.” [DE 452.] But Rule 62(a) provides

     only a 30-day stay of enforcement that runs from the judgment’s entry. Here, the

     judgment was entered June 5. Rule 62 does not provide for an automatic stay of

     enforcement running from a notice of appeal. Nor does any order bar execution.

            7.     The judgment remains unsatisfied in its entirety.

            WHEREFORE, ADT applies again for a writ of execution directed at judgment

     debtor Alder Holdings, LLC, in the amount of Four Million Dollars, to be served upon

     the BANK OF AMERICA, N.A., at the bank’s location within this District.

     Dated: October 15, 2019                     Respectfully submitted,
                                                 McNEW P.A.
                                                 /s/ C. Sanders McNew
                                                 ________________________________________________________________________________________________

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                                 CERTIFICATE OF SERVICE

             I hereby certify that on this fifteenth day of October, 2019, I caused a true and
     correct copy of the foregoing Application to be served by CM/ECF on all parties listed to
     receive electronic service for this case.


                                                              s/ C. Sanders McNew
                                                         ______________________________
                                                                 C. Sanders McNew




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